                   Case 3:12-cv-00916-NC Document 1 Filed 02/23/12 Page 1 of 10

••
 1   Irving L. Berg (SBN 36273)
     THE BERG LAW GROUP
 2   145 Town Center, PMB 493
     Corte Madera, California 94925
 3   (415) 924-0742
     (415) 891-8208 (Fax)
 4   irvberg@comcast.net (e-mail)

 5
     ATTORNEYS FOR PLAINTIFF
 6

 7

 8
                                     UNITED STATES DIS                         OURT
 9                                                                             C  FORNI
                               FOR THE NORTHERN DI
                                        SAN FRANCIS                            N
10
11   RONALDO SUELLEN,                                              Case No.:

                            Plaintiff,                             COMPLAINT FOR DAMAGES FOR
12
     v.                                                            VIOLATION OF CONSUMER DEBT
                                                                   COLLECTION LAWS
13
     MERCANTILE ADJUSTMENT BUREAU,
     LLC,                                                          DEMAND FOR JURY TRIAL
14
     ----------"D:::..e~fi~en~d~an:!.!:t!:..:...._ _ _ _....!../   15 United States Code § 1692 et seq.
15
                                                                   California Civil Code § 1788 et seq.
16   J
17
                                                     I. INTRODUCTION
18
              1.       This is an action for damages, attorney fees and costs brought by an individual
19
     consumer for Defendant' s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,
20
     et seq. ("FDCPA"), and the Rosenthal Fair Debt Collection Practices Act, California Civil Code
21
     § 1788 et seq. ("RFDCP A") which set standards for debt collectors to prevent abusive, deceptive
22
     and unfair collection practices.
23
                                                     II. JURISDICTION
24
             2.        Jurisdiction in this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C. § 1337,
25
     and supplemental jurisdiction exists for the state law claims pursuant to 28 U.S.C. § 1367.
26
     Declaratory relief is available pursuant to 28 U.S.C. § § 2201 and 2202.
27

28
     COMPLAINT/se                                                    RONALDO SUELLEN v. MERCANTILE
                                                                   1 ADJUSTMENT BUREAU, LLC
Case 3:12-cv-00916-NC Document 1 Filed 02/23/12 Page 2 of 10
                                                               .
                   Case 3:12-cv-00916-NC Document 1 Filed 02/23/12 Page 3 of 10

..-
 1                                                III. VENUE

 2            3.      Venue in this judicial district is proper pursuant to 28 U.S .C. § 1391(b), in that

 3    a substantial part of the events or omissions giving rise to the claim occurred in this judicial

 4    district. Venue is also proper in this judicial district pursuant to 15 U.S. C. § 1692k(d), in that the

 5    Defendant transacts business in this judicial district and the violations of law complained of

 6    occurred in this judicial district.

 7                                  IV. INTRADISTRICT ASSIGNMENT

 8            4.      This lawsuit should be assigned to the San Francisco Division of this Court

 9    because a substantial part of the events or omissions which gave rise to this lawsuit occurred in

10    San Francisco County.

11                                               V. PARTIES

12            5.      Plaintiff is a resident of San Francisco County, California and a high school

13    physical education teacher. Plaintiff is a "consumer" within the meaning of 15 U.S.C. §

14    1692a(3) and a "debtor" within the meaning of Cal. Civ. Code§ 1788.2(h).

15            6.      Defendant MERCANTILE ADJUSTMENT BUREAU, LLC ("Mercantile" and/or

16    "Defendant") has a principal office at 6390 Main Street, Suite 160, Williamsville, NY 14221.

17    The principal purpose of Defendant is the collection of debts using the mail and telephone.

18    Defendant is a debt collector within the meaning of 15 U.S.C. § 1692a(6) and Cal. Civ. Code§

19    1788.2(c). Its President is Jefrey P. Miller.

20                                      VI. FACTUAL ALLEGATIONS

21            7.      Some time ago, Chase Bank U.S.A. ("Chase," a non-party) issued a credit card to

22    Plaintiff with an account number ending in 0015.

23            8.      Under the FDCP A, Chase was a creditor of Plaintiff pursuant to the definition of a

24    creditor under 15 U.S.C. § 1692a(4), the FDCPA, which states :

25            (4) The term "creditor" means any person who offers or extends credit
              creating a debt or to whom a debt is owed, but such term does not include
26            any person to the extent that he receives an assignment or transfer of a debt
              in default solely for the purpose of facilitating collection of such debt for
27            another.

28
      COMPLAINT/se                                          RONALDO SUELLEN v. MERCANTILE
                                                        2 ADJUSTMENT BUREAU, LLC
Case 3:12-cv-00916-NC Document 1 Filed 02/23/12 Page 4 of 10

                                                               '·
                   Case 3:12-cv-00916-NC Document 1 Filed 02/23/12 Page 5 of 10



 1           9.         Plaintiff Suellen used the funds to purchase consumer goods for his personal

 2   and family needs.

 3           10.        The extension of credit by Chase to Plaintiff created an obligation of Plaintiff to

 4   pay money to Chase, i.e. a "debt" owed by Plaintiffto Chase. As stated at 15 U.S.C. § 1692a(5):

 5           (5) The term "debt" means any obligation or alleged obligation of a consumer
             to pay money arising out of a transaction in which the money, property,
 6           insurance, or services which are the subject of the transaction are primarily for
             personal, family, or household purposes, whether or not such obligation has
 7           been reduced to judgment.

 8
             11.      Plaintiff defaulted on the debt and Chase assigned the debt to various debt
 9
     collectors. At 15 U.S.C. § 1692a(6) it is stated:
10
            (6) The term "debt collector" means any person who uses any instrumentality of
11          interstate commerce or the mails in any business the principal purpose of which
            is the collection of any debts ... owed or due or asserted to be owed or due
12          another...

13           12.      Sometime unknown to Plaintiff, the defaulted debt was purchased by Equable

14   Ascent Financial, an entity described by Defendant as the "Current Creditor" (See Exhibit A).

15   That statement was false.

16           13.      Plaintiff had not received any funds from Equable or credit extension from it.

17   Equable was not a creditor. It was a debt buyer who hired Defendant to collect the debt.

18           14.      It is established that "as to a specific debt, one cannot be both a creditor

19   and debt collector as defined in the FDCP A because these terms are mutually exclusive." F. T. C.

20   v. Check Investor, 502 F.3d 159, 173 (3d Cir. 2007), cert denied 129 S.Ct. 569 (2008).

21           15.      The true facts when Defendant sent its collection letter should have stated at the

22   first paragraph:

23          This office represents Equable Ascent Financial, a debt buyer, who
            purchased your account 0015 with a balance of $4,180.51 from Chase Bank
24          USA. Hereafter, all payments on the account must be made to Mercantile
            Adjustment Bureau, LLC, the debt collector hired by Equable who now
25          owns the account.

26           16.      Defendant's conduct in making the representation at Exhibit A was done

27   intentionally and knowingly. Defendant's conduct was unlawful and violated the federal and

28
     COMPLAINT/se                                             RONALDO SUELLEN v. MERCANTILE
                                                          3   ADJUSTMENT BUREAU, LLC
Case 3:12-cv-00916-NC Document 1 Filed 02/23/12 Page 6 of 10
                    Case 3:12-cv-00916-NC Document 1 Filed 02/23/12 Page 7 of 10



 1   state law as hereafter stated.

 2                                  V. CAUSE OF ACTIONS
                      VIOLATION OF FDCPA AND CAFDCPA AGAINST DEFENDANT
 3
                                          COUNT I
 4      (Violation of CAFDCPA: False Representation as to Debt Collector Being a Creditor)

 5
              17.      Plaintiff incorporates the foregoing paragraphs as though fully set forth hereto.
 6
              18.      Defendant violated 15 U.S.C. §§ 1692e, 1692e2(A) and 1692e(10) incorporated
 7
     into California law by Cal. Civ. Code§ 1788.17.
 8
                                                COUNT II
 9                  (Violation of FDCPA: False Representation as to Plaintiff's Creditor)

10
              19.      Plaintiff incorporates the foregoing paragraphs as though fully set forth hereto.
11
              20.      Defendant violated 15 U.S.C. §§ 1692e, 1692e(2)(A) and e(10) by the false,
12
     deceptive and misleading representation of Equable as a creditor.
13
                                        VII. REQUEST FOR RELIEF
14
              WHEREFORE, Plaintiff respectfully prays that relief be granted as follows:
15
              A.       That judgment in favor of Plaintiff be entered against Defendant on Count I and II
16
     for maximum statutory damages pursuant to 15 U.S.C. § 1692k and Cal. Civ. Code§ 1788.30;
17
              B.       That the Court award costs and reasonable attorney's fees and litigation expenses
18
     pursuant to 15 U.S.C. § 1692k and Cal. Civ. Code§ 1788.3 0;
19
              c.       That the Court grant such other and further relief as may be just and proper.
20

21
     Dated: ~ -?). ~01 v
22                                            Irving L. Berg
23

24                                    VIII. JURY DEMAND
25
              Plaintiffhereby demands that this case be tried before a jury.
26

27

28
     Dated:   J.,J} ~ 1-ol "1-                 ,£U--vIrving L. Berg
     COMPLAINT/se                                           RONALDO SUELLEN v. MERCANTILE
                                                         4 ADJUSTMENT BUREAU, LLC
Case 3:12-cv-00916-NC Document 1 Filed 02/23/12 Page 8 of 10
                                                               .
                                                   Case 3:12-cv-00916-NC Document 1 Filed 02/23/12 Page 9 of 10
                .. 6941 \nd con Drive East
. . .- ...    •0/-)3~~i( NY 14132-9097
                •                                                                                                               MERCANTILE
                                ~
                                                                                                    \                           Tn1101<1rtve Solutions, Exaptloi!DI &sultt
                                                                                                                                                                   Toll Free#: 1-866-809-7506
                    l\1\111111111 11111111111111111111
                                                                                                                                           4185867830670015
                 January 17, 2012
                                                                                                                                            17716562
                 Secure online payment can be made at:
                 www.mercantilewebpymt.com Pass Phrase: 94881
                                                                                                          Make Check Payable to:
                         CD01                                     A-01-ZOW-AM-16958-74

                         11 1l1111 llll•ln•p1•1••11h lh 11111. hll 111•l•lllnlh 11•1111111                    llll•lllll•pln•lll.lll••l•llnll•h •ll•l••l.llmlp•nlll••lll
                         RONALDO SUELEN                                                                       MERCANTILE ADJUSTMENT BUREAU , LLC
                         PO BOX 16332                                                   B
                                                                                        _ "  ·&'.             PO BOX 9016
                         SAN FRANCISCO CA 94116-0332                                    ~                     WILLIAMSVILLE NY 14231 -9016




                                    --=== --- -~-            --     -    -· - -···- - -                 - ------ --        --~·~==---
                                                                                                                                    -=---==                                       - -= : . _ _
                                                              PLEASE DETACH AND RETURN TOP PORTION WITH YOUR PAYMENT

             January 17, 2012
                                                                                                          ACCOUNT NO:                       4185867830670015
             RONALDO SUELEN                                                                               REFERENCE NO:                     17716562
             PO BOX 16332
             SAN FRANCISCO CA 94116-0332                                                                  PREVIOUS CREDITOR: CHASE BANK USA, N.A (WAMU)
                                                                                                          CURRENT CREDITOR: EQUABLE ASCENT FINANCIAL
                                                                                                          LLC
                                                                                                          BALANCE:           $4,180.51
             Your account owed to EQUABLE ASCENT FINANCIAL LLC has been listed with our office for collection. The entire balance ·•
             of $4,180.51 is due and payable.
             Send the balance due to this office.
                                                                                                          MERCANTILE ADJUSTMENT BUREAU, LLC
                                                                                                          1-866-809-7506

                                                                                                          OFFICE HOURS: MON- THURS 8 AM - 9 PM,
                                                                                                          FRJ 8 AM - 5 PM EST

             Please send payments or correspondence to MERCANTILE ADJUSTMENT BUREAU , LLC, PO BOX 9016, WILLIAMSVILLE
             NY 14231 -9016.




             The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection Practices Act require that, except
             under unusual circumstances, collectors may not contact you before 8 a.m. or after 9 p.m. They may not harass you by
             using threats of violence or arrest or by using obscene language. Collectors may not use false or misleading statements or
             call you at work if they know or have reason to know that you may not receive personal calls at work. For the most part,
             collectors may not tell another person, other than your attorney or spouse, about your debt. Collectors may contact another
             person to confirm your location or enforce a judgment. For more information about debt collection activities, you may contact
             the Federal Trade Commission at 1-877-FTC-HELP or www.ftc.gov.




                                                                                                                                                                                       MERSO
Case 3:12-cv-00916-NC Document 1 Filed 02/23/12 Page 10 of 10
                                                                ,.   -.
